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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION                                       CASE NO. 6:15-CV-238
 SYSTEMS, LLC,

                   Plaintiff,
                                                                         JURY TRIAL DEMANDED
          v.

 CRUNCHYROLL, INC.,

                   Defendant.




      ORDER FOCUSING PATENT CLAIMS AND PRIOR ART TO REDUCE COSTS




 The Court ORDERS as follows:

          1.       This Order supplements all other discovery rules and orders. It streamlines the

 issues in this case to promote a “just, speedy, and inexpensive determination” of this action, as

 provided by Federal Rule of Civil Procedure 1.

 Phased Limits on Asserted Claims and Prior Art References

          2.       By January 4, 2016, the patent claimant shall serve a Preliminary Election of

 Asserted Claims, which shall assert no more than ten claims from the asserted patent. Not later

 than January 18, 2016, the patent defendant shall serve a Preliminary Election of Asserted Prior

 Art, which shall assert no more than eighteen prior art references against the asserted patent. 1



 1
   For purposes of this Order, a prior art instrumentality (such as a device or process) and associated references that
 describe that instrumentality shall count as one reference, as shall the closely related work of a single prior artist.
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          3.       No later than April 25, 2016, the patent claimant shall serve a Final Election of

 Asserted Claims, which shall identify no more than five asserted claims per patent from among

 the ten previously identified claims. By May 16, 2016, the patent defendant shall serve a Final

 Election of Asserted Prior Art, which shall identify no more than nine asserted prior art

 references from among the eighteen prior art references previously identified. For purposes of

 this Final Election of Asserted Prior Art, each obviousness combination counts as a separate

 prior art reference, but the assertion of the same reference under both anticipation and

 obviousness defenses counts as a single reference.

 Modification of this Order

          4.       Subject to Court approval, the parties may modify this Order by agreement, but

 should endeavor to limit the asserted claims and prior art references to the greatest extent

 possible. Absent agreement, post-entry motions to modify this Order’s numerical limits on

 asserted claims and prior art references must demonstrate good cause warranting the

 modification. Motions to modify other portions of this Order are committed to the sound

 discretion of the Court. 2




 2
   This Order contemplates that the parties and the Court may further narrow the issues during pretrial proceedings in
 order to present a manageable case at trial.
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 DATED: July 19, 2015                              Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served this 19th day of July, 2015, with a copy of this
 document via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of
 record will be served by, electronic mail, facsimile transmission and/or first class mail on this
 same date.

                                               /s/ Charles Ainsworth
                                               Charles Ainsworth
